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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                          )
In re:                                                    ) Chapter 11
                                                          )
AMERIFIRST FINANCIAL, INC., et al.,1                      ) Case No. 23-11240 (TMH)
                                                          )
                                   Debtors.               ) (Jointly Administered)
                                                          )

           DEBTORS’ SUPPLEMENTAL OMNIBUS REPLY IN SUPPORT OF
     MOTION FOR INTERIM AND FINAL ORDERS (I) AUTHORIZING DEBTORS
      (A) TO OBTAIN POSTPETITION FINANCING AND (B) TO UTILIZE CASH
    COLLATERAL, (II) GRANTING ADEQUATE PROTECTION TO PREPETITION
    LENDERS, (III) MODIFYING THE AUTOMATIC STAY, (IV) SCHEDULING A |
             FINAL HEARING, AND (V) GRANTING RELATED RELIEF

         AmeriFirst Financial, Inc. (“AmeriFirst”) and Phoenix 1040, LLC (“Phoenix”), as debtors

and debtors in possession (collectively, the “Debtors”) in these chapter 11 cases (the “Chapter 11

Cases”), hereby file this supplemental omnibus reply (this “Reply”) in support of their postpetition

financing motion [Dkt. No. 21] (the “DIP Motion”).2 The following parties have filed objections

to the DIP Motion: (1) the Official Committee of Unsecured Creditors in these cases (the

“Committee”) at Dkt. Nos. 256 and 310, (2) the Office of the U.S. Trustee (the “U.S. Trustee”) at

Dkt. No. 254, and (3) Eric Bowlby (“Mr. Bowlby”), on behalf of himself and other displaced

shareholders of AmeriFirst,3 at Dkt. Nos. 44 and 116. The U.S. Trustee’s objection is limited to

the elimination of the challenge period. The Debtors previously filed a reply to the objections of

Mr. Bowlby. As noted there, the Debtors dispute that Mr. Bowlby is a legitimate creditor or has

standing to object to the DIP Motion.



1
    The Debtors and the last four digits of their respective taxpayer identification numbers include: Phoenix 1040
    LLC (2550) and AmeriFirst Financial, Inc. (4557). The Debtors’ service address is 575 W. Chandler Boulevard,
    Suite 225, Unit 236, Chandler, AZ 85225.
2
    Capitalized terms used but not defined herein shall have the meanings set forth in the DIP Motion.
3
    The only other “displaced shareholder” of AmeriFirst is Eric Bowlby’s father, Kenneth Bowlby.


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        In support of this Reply, the Debtors respectfully represent as follows:

                                              REPLY

                   1.   The Committee objects to the DIP Loans and consensual use of cash

collateral in favor of a “scorched earth” litigation strategy against the Debtors and the Prepetition

Lenders. The Committee seems intent on running up litigation costs and shutting these cases

down, yet the Committee apparently has invested little time, if any, in investigating what litigation

claims actually exist against third parties, including Mr. Bowlby, his relatives, and other former

insiders.

                   2.   The Committee makes the same tired argument that it made last week at the

hearing on venue transfer: that AmeriFirst is controlled by the Prepetition Lenders / DIP Lenders

and therefore the DIP Loans are not fair or reasonable. The factual record reflects quite the

opposite.

                   3.   AmeriFirst has an independent director, Jeffrey Dane, who is charged with

express authority over conflict matters (i.e., matters involving the Prepetition Lenders / DIP

Lenders). He has actively exercised such independent authority. The Debtors also have an

independent chief restructuring officer, T. Scott Avila, who negotiated the economic terms of the

DIP Loans for the benefit of these estates. It was not the Prepetition Lenders or DIP Lenders who

directed AmeriFirst to enter into the DIP Loans, but rather AmeriFirst did so at the direction of

Messrs. Dane and Avila who acted in the sound exercise of their business judgment.

                   4.   The Committee also ignores economic realities. The need for a bankruptcy

filing and postpetition financing were not a close call for Messrs. Dane and Avila to make.

AmeriFirst barely made payroll throughout August 2023 and only did so by cannibalizing its

assets. There was no certainty that sufficient proceeds from further asset sales would be received



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by the next payroll due in early September 2023. The bankruptcy filing and contemplated

financing were therefore the only viable means to fund AmeriFirst’s business. The DIP Loans are

also inherently fair. They have economic terms that are far better than market with an interest rate

of only SOFR + 2% and fees totaling less than 1% of the commitment.

                   5.   The Committee notes that its constituents will not receive the proceeds of

assets pledged in favor of the Prepetition Lenders / DIP Lenders, but that does not mean that the

DIP Motion should be denied and these cases immediately converted. Many Delaware cases

involve undersecured creditors and the likelihood that unsecured creditors may recover nothing.

From the Debtors’ perspective, the goal of the process now is to maximize the value of estate assets

for the benefit of all constituents. That includes evaluating litigation claims against third parties,

including former insiders, that could lead to some distributions to unsecured creditors. Under the

Debtors’ proposed plan, the Prepetition Lenders and DIP Lenders have already agreed to leave

certain assets for the benefit of unsecured creditors.

                   6.   The Committee’s objections to the DIP Motion should be overruled because

the Debtors need access to additional financing and use of cash collateral in order to continue their

wind-down efforts. The Debtors still have valuable assets that must be maintained pending a sale,

including mortgage servicing rights, various loans, and real estate. The Debtors currently employ

17 employees and have proposed a retention plan for 10 employees. The Debtors need to be able

to continue to pay these employees in order to garner maximum value for their estates. The

Debtors also must pay professionals, including the Committee’s professionals, for the proper

administration of these cases. There can be no doubt that the Debtors require the DIP Loans and

access to cash collateral in order to maintain an administratively solvent estate.




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                   7.    Both the Committee and the U.S. Trustee object to the proposed estate

release of the Prepetition Lenders, without challenge.             The Prepetition Lenders have

understandably insisted on a global estate release binding on all parties given the litigious nature

of these cases to date. The Debtors have agreed that such release is appropriate under the unique

circumstances of these cases based on the thorough investigation conducted by Jeffrey Dane,

which is described in detail below.

                   8.    In sum, after reviewing extensive documentation and interviewing all

relevant parties, Mr. Dane has concluded that there are no material actionable claims to pursue

against the Prepetition Lenders. Further, in the sound exercise of the Debtors’ business judgment,

the proposed financing to be provided by the Prepetition Lenders as DIP Lenders is absolutely

necessary for the Debtors to continue their ongoing efforts of maximizing the value of the Debtors’

estates and confirming a chapter 11 liquidating plan that will preserve all potential claims against

third parties except the Prepetition Lenders, including Mr. Bowlby and other former insiders.

                   9.    As addressed further below, the remaining objections of the Committee to

the DIP Motion are standard objections to liens on avoidance actions, the timing of lender

remedies, waivers of surcharge, equities of the case, and marshaling rights, and other protective

provisions, each of which should be overruled given that the Prepetition Lenders, as DIP Lenders,

are advancing up to $5 million of new money to these estates and consenting to the use of cash

collateral.

                                         INVESTIGATION

A.      Background and Conclusion

                   10.   Jeffrey Dane is an experienced financial and restructuring professional who

has served on a numerous boards as independent director since 2019, including for NBG Homes,



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Nordic Aviation Capital, Vantage Commodities, Steiner Education, BJ Services, and Apex Parks

Group. Mr. Dane has a bachelor’s degree in business from Emory University where he graduated

in 1996.

                   11.   Mr. Dane was initially retained as an independent director for AmeriFirst

on the Petition Date, following the Prepetition Lenders’ exercise of rights under a stock pledge.

Mr. Dane has no prior relationship or affiliation with the Prepetition Lenders or their affiliates at

Reverence Capital.

                   12.   Mr. Dane commenced his formal investigation of potential estate claims

against the Prepetition Lenders in late September 2023. Mr. Dane’s investigation was conducted

with the assistance of Debtors’ counsel. He and Debtors’ counsel have reviewed copious amounts

of documents, including the relevant credit and security documents, and communications between

and among the Debtors and the Prepetition Lenders, including hundreds of privileged and non-

privileged emails. Mr. Dane also conducted lengthy interviews of Mr. Bowlby, attorneys at

Kasowitz, and representatives of the Prepetition Lenders.

                   13.   Based on his investigation, Mr. Dane has concluded that the Debtors’ estates

do not have any actionable claims to pursue against the Prepetition Lenders. Further, any

affirmative claims against the Prepetition Lenders would have to exceed the outstanding claims

against AmeriFirst asserted by the Prepetition Lenders for loans advanced.

B.      Original Credit Agreement and Defaults

                   14.   Amerifirst, as borrower, RCP Credit Opportunities Fund Loan SPV (Fund

III), L.P., as administrative agent (the “Prepetition Agent”), and RCP Credit Opportunities Fund

Loan SPV (Fund III), L.P. and RCP Customized Credit Fund (Fund IV-A), L.P. (the “Prepetition

Lenders”) entered into a Credit and Security Agreement, dated as of April 21, 2021 (the “Original



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Credit Agreement”). Exhibit A (Original Credit Agreement). Pursuant to the terms of the Original

Credit Agreement, AmeriFirst borrowed $50 million from the Prepetition Lenders. The stated

maturity date was February 28, 2025. AmeriFirst granted a security interest in a collection account

and related cash and financial assets to the Prepetition Agent to secure AmeriFirst’s obligations

under the Original Credit Agreement. The Prepetition Agent filed a UCC-1 financing statement

in Arizona to perfect its security interest under the Original Credit Agreement on January 9, 2023,

prior to the ninety (90) days before the Petition Date. Exhibit B (Original UCC Financing

Statement).

                   15.   Eric Bowlby used $6 million of the loan proceeds from the Original Credit

Agreement to purchase a majority stake in AmeriFirst from his father, Kenneth Bowlby.

                   16.   As part of the execution of the Original Credit Agreement, AmeriFirst, the

Prepetition Agent, the Prepetition Lenders, as junior lenders, and Flagstar Bank, FSB, as senior

lender (the “Senior Lender”), entered into a Subordination Agreement, dated as of April 21, 2021

(the “Subordination Agreement”). Exhibit C (Subordination Agreement). Pursuant to the

Subordination Agreement, the Prepetition Lenders agreed to subordinate their liens and claims to

the Senior Lender’s liens and claims against AmeriFirst arising under a warehouse revolving loan

facility. The Subordination Agreement required the Prepetition Agent or the Prepetition Lenders

to notify the Senior Lender within one (1) business day of an event that gives the Prepetition Agent

or the Prepetition Lenders the right to accelerate their loan or exercise remedies. See Subordination

Agreement at §2.

                   17.   AmeriFirst was profitable in 2021 and repaid $22 million of the obligations

under the Original Credit Agreement.




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                   18.   The mortgage industry began to suffer in 2022 as interest rates increased

substantially. AmeriFirst was no exception. AmeriFirst’s financial performance deteriorated

rapidly throughout 2022 and continuing into 2023, generating approximately $17 million in losses

from January 2022 through December 2022 and $28 million of losses from January 2022 through

August 2023. Exhibit D (Monthly Income Statements).

                   19.   One major problem was that AmeriFirst’s overhead costs, including payroll

and rent obligations, did not align with the reduced level of mortgage origination activity in a high

interest rate environment. AmeriFirst failed to cut costs to take into account the new mortgage

environment and continued to incur substantial losses month after month.

                   20.   By August 1, 2022, AmeriFirst triggered a financial covenant tied to a

minimum net worth to loan ratio under the Original Credit Agreement. See Original Credit

Agreement at §6.11(d). Pursuant to the Original Credit Agreement, AmeriFirst had ninety (90)

days to pay down the outstanding loan in order to become compliant with the required covenant.

The required pay-down as of August 2022 was $9 million, but ongoing losses in subsequent

months, increased the required pay-down amount by another $2.4 million.

                   21.   Mr. Bowlby, who controlled AmeriFirst throughout the relevant time period

until just prior to the Petition Date, attempted to sell AmeriFirst’s mortgage servicing rights and

other non-core assets, such as scratch & dent loans and real estate, in order to realize sufficient

proceeds to pay down the loan. No such sales were consummated, and no pay-down was made,

by the December 1, 2022, deadline, triggering an event of default under the Original Credit

Agreement.

                   22.   Accordingly, as of December 1, 2022, the Prepetition Lenders were entitled

to accelerate the loan and exercise remedies. On December 2, 2022, as required under the



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Subordination Agreement, the Prepetition Agent delivered a notice to the Senior Lender

identifying the covenant default (the “Default Notice to Senior Lender”), but also noting that the

Prepetition Agents had agreed to forbear from exercising remedies through December 9, 2022 and

potentially longer. Exhibit E (Default Notice to Senior Lender). On information and belief,

similar letters were sent to AmeriFirst’s other warehouse lenders with subordination agreements.

                   23.   Mr. Bowlby contends that the delivery of the Default Notice to Senior

Lender and the other warehouse lenders impaired AmeriFirst’s ability to access the warehouse

facilities provided by the Senior Lender and other lenders to originate loans and adversely

impacted AmeriFirst’s ability to sell its mortgage servicing rights. Regardless of whether Mr.

Bowlby’s contention is correct, AmeriFirst had agreed to the provisions of the Original Credit

Agreement and the Subordination Agreement and the Prepetition Lenders had the contractual right

to exercise remedies as they saw fit and deliver the Default Notice to Senior Lender. Moreover,

as addressed below, any claims AmeriFirst and the Prepetition Lenders may have had

against each other arising prior to May 15, 2023, were waived through a global settlement

agreement and mutual release.

                   24.   After the Prepetition Lenders delivered the Default Notice to Senior Lender,

Mr. Bowlby caused AmeriFirst to retain Kasowitz Benson & Torres LLP (“Kasowitz”) as litigation

counsel. On December 27, 2022, Kasowitz delivered a demand letter to the Prepetition Lenders

asserting that the Default Notice to Senior Lender had caused the Senior Lender and other

warehouse lenders to immediately terminate their advances to AmeriFirst and had caused a

substantial decrease in the value of the mortgage servicing rights and scratch & dent loans that

AmeriFirst was in the process of marketing. Exhibit F (Kasowitz Demand Letter). Kasowitz also

threatened legal action and asserted $50 million in potential claims, unless the Prepetition Lenders



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immediately advanced $15 million in new money to AmeriFirst in consideration of an equity stake

in AmeriFirst and accepted $10 million in full and final satisfaction of the $28 million in

outstanding obligations under the Original Credit Agreement.

                   25.   On January 4, 2023, counsel to the Prepetition Lenders, Quinn Emanuel,

sent a letter to Kasowitz responding to the demand letter and rejecting any assertion of wrongdoing

on the part of the Prepetition Lenders. Exhibit G (Quinn Response Letter).

                   26.   On January 11, 2023, the Prepetition Agent delivered a notice of default to

AmerFirst asserting a failure to pay interest due on January 3, 2023, and various additional

covenant breaches (the “Default Notice to AmeriFirst”).            Exhibit H (Default Notice to

AmeriFirst). Through the Default Notice to AmeriFirst, the Prepetition Agent accelerated the

obligations under the Original Credit Agreement and demanded the delivery of all collateral to the

Prepetition Agent.

C.      Amended Credit Agreement, Settlement Agreement, and Mutual Releases

                   27.   In the weeks following the delivery of the Default Notice to AmeriFirst, the

parties engaged in extensive discussions regarding, among other things, a sale of AmeriFirst’s non-

core assets, a pay-down schedule for the loan, possible waiver or equitization of portions of the

loan, and additional collateral that may be granted to the Prepetition Agent. Ultimately, after

robust negotiations and numerous calls and meetings between Mr. Bowlby and his team at

AmeriFirst, attorneys from Kasowitz, and AmeriFirst’s outside transactional counsel, Jeffrey

George, on the one hand, and the Prepetition Lenders and their representatives, including attorneys

from Quinn Emanuel, on the other, the parties reached agreement on a binding term sheet dated as

of March 31, 2023 (the “Term Sheet”). Exhibit I (Term Sheet).




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                   28.   Six weeks of intense negotiations followed in an effort to reach agreement

on definitive documentation consistent with the Term Sheet. Ultimately, in order to implement

the provisions of the Term Sheet, AmeriFirst, as borrower, the Prepetition Agent, and the

Prepetition Lenders entered into: (i) an Amended and Restated Credit and Security Agreement,

dated as of May 15, 2023 (the “Amended Credit Agreement”), (ii) a Limited Waiver and Second

Amendment to Credit and Security Agreement, dated as of May 15, 2023 (the “Second

Amendment”), and (iii) a Settlement Agreement, dated as of May 15, 2023 (the “Settlement

Agreement”). See Exhibit J (Amended Credit Agreement), Exhibit K (Second Amendment), and

Exhibit L (Settlement Agreement), respectively.         There is no evidence that the foregoing

agreements were the result of anything other than extensive good faith and arms’ length

negotiations between sophisticated parties who were each represented by experienced and

qualified counsel.

                   29.   Pursuant to the Amended Credit Agreement, AmeriFirst agreed and

acknowledged that the principal amount then due and owing to the Prepetition Lenders was $28

million. See Amended Credit Agreement at §2.01. AmeriFirst agreed to pay-down the obligations

under the Amended Credit Agreement by $20 million on or before September 16, 2023 (subject to

extension under certain circumstances to October 16, 2023), and to sell certain non-core assets in

order to realize sufficient proceeds to pay-down the Prepetition Lenders subject to certain

milestones. See Amended Credit Agreement at Art. VII(a), Exhibit B (Milestones). Importantly,

the Amended Credit Agreement required AmeriFirst to keep all of its cash in accounts subject to

control agreements in favor of the Prepetition Agent and permitted the Prepetition Agent to sweep

cash from such accounts constituting the proceeds of non-core assets and any other available cash

at the end of each month less certain “Reserved Cash” (as defined in the Amended Credit



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Agreement). See Amended Credit Agreement at §2.07(b)-(c), §10.02. The definition of Reserved

Cash took into account that AmeriFirst had projected operating losses under an agreed budget for

the months of May, June, and July 2023. It was intended that AmeriFirst would obtain an infusion

of up to $8 million of subordinated debt in order to re-start its mortgage origination business and

obtain a new warehouse loan facility on reasonable terms. See Amended Credit Agreement at

§6.04, Exhibit B (Milestones).

                   30.   Pursuant to the Settlement Agreement, in consideration for the execution of

the Amended Credit Agreement, the Second Amendment, and a restatement of the “bad boy”

guaranty agreement of Eric Bowlby, AmeriFirst’s then majority shareholder, in favor of the

Prepetition Secured Parties, the Prepetition Lenders, AmeriFirst, and Mr. Bowlby entered into

certain mutual releases, including the release of all Existing Defaults (as defined in the Settlement

Agreement), subject to the terms and conditions set forth therein. These global releases, which

went into effect over 90 days prior to the Petition Date, had the effect of eliminating any

purported claims that the Debtors may have had with respect to any conduct that pre-dated

the Settlement Agreement on May 15, 2023, including the various allegations of wrongdoing

made by Mr. Bowlby against the Prepetition Lenders dating back to the original Default

Notice to Senior Lender delivered on December 2, 2022.

                   31.   In connection with the Amended Credit Agreement, the shareholders of

AmeriFirst, Eric Bowlby and Kenneth Bowlby, entered into a Pledge Agreement, dated as of May

15, 2023, with the Prepetition Agent (the “Pledge Agreement”), which granted liens and security

interests in 100% of the common equity stock of AmeriFirst (the “Pledged Shares”) in favor of the

Prepetition Agent. See Exhibit M (Pledge Agreement).




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                   32.   AmeriFirst also entered into a Security Agreement, dated as of May 15,

2023, with the Prepetition Agent (the “Security Agreement”), which granted a first priority lien on

and security interest in substantially all of AmeriFirst’s assets to the Prepetition Agent, subject to

certain permitted liens. See Exhibit N (Security Agreement). Pursuant to the Amended Credit

Agreement and the Security Agreement, AmeriFirst’s obligations to the Prepetition Lenders are

secured by valid, binding, perfected first priority security interests and liens (the “Prepetition

Liens”) in and on the “Collateral,” as defined in the Amended Credit Agreement and Security

Agreement (the “Prepetition Collateral”). The Prepetition Agent filed a UCC-3 amended financing

statement in Arizona to perfect its security interest under the Amended Credit Agreement and

Security Agreement on May 17, 2023, prior to the ninety (90) days before the Petition Date.

Exhibit O (Amended UCC Financing Statement)

                   33.   The Prepetition Lenders also made certain concessions. For example, they

agreed to convert a portion of the outstanding loan to equity. Specifically, as of May 15, 2023, the

Prepetition Lenders agreed to reduce the principal balance of their loan from $28 million to $24

million in consideration for the issuance of 40,000 shares of preferred stock in AmeriFirst, with an

aggregate liquidation value of $4 million. Further, if AmeriFirst met its obligation to pay down

$20 million of the outstanding loan, the Prepetition Lenders agreed to adjust the remaining $4

million balance by converting (a) $2 million of the outstanding obligation to preferred stock, with

an aggregate liquidation value of $2 million, and (b) the remaining $2 million to two new “Hope

Notes.” See Amended Credit Agreement at §2.19. The Prepetition Lenders also agreed to waive

any other claims that they may otherwise have had under the Original Credit Agreement for

prepayment fees and accrued interest.




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                   34.   Pursuant to the Amended Credit Agreement, AmeriFirst could not incur any

indebtedness or grant liens on its assets except for certain permitted liens and warehouse facilities.

See Amended Credit Agreement at §6.04, §6.15. In connection with any warehouse facility,

AmeriFirst was required to deliver a subordination agreement acceptable to the Prepetition Agent.

Id. at §6.04.

                   35.   Finally, AmeriFirst, Mr. Bowlby, the Prepetition Agent, and the Prepetition

Lenders executed a side letter dated May 15, 2023, requiring the parties to execute such other

amendments or waivers as may be necessary for AmeriFirst to remain compliant with regulatory

requirements and able to enter into customary warehouse arrangements, subject to limitations on

any amendments or waivers that could cause a material adverse effect. See Exhibit P (Side Letter).

D.      Defaults Under Amended Credit Agreement and Exercise of Stock Pledge

                   36.   On May 25, 2023, in accordance with section 2.07(b) of the Amended

Credit Agreement and with Mr. Bowlby’s advance knowledge, the Prepetition Agent swept $5

million from a controlled account of AmeriFirst and applied such amount against AmeriFirst’s

outstanding loan obligations.

                   37.   Beginning on May 31, 2023, AmeriFirst began to miss milestones under the

Amended Credit Agreement.

                   38.   Pursuant to the Second Amendment, the Prepetition Lenders agreed that

AmeriFirst could pledge its mortgage servicing rights in favor of one warehouse lender, Customers

Bancorp, Inc. (“Customers”), along with any loans funded through such warehouse facility,

provided that the terms of any such facility, including the form of an intercreditor agreement, were

commercially reasonable and reasonably acceptable to the Prepetition Agent, and Customers




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agreed to marshal its recoveries away from the mortgage servicing rights, until its funded loans

were liquidated. See Second Amendment at §9.

                   39.   After May 15, 2023, there were delays in effectuating a warehouse facility

with Customers. The Prepetition Lenders assert that they were not presented with a written

proposal for a warehouse facility from Customers until June 14, 2023. On June 23, 2023, counsel

for Customers sent an email to the Prepetition Lenders and AmeriFirst insisting that the Prepetition

Lenders waive all rights to exercise remedies, presumably until the Customers’ facility has been

paid in full and refusing to agree to marshal away from any of Customers’ contemplated collateral

or to allow the Prepetition Lenders to have any junior liens on such collateral. See Exhibit Q

(Email from Customers). Customers’ proposed terms conflicted with the agreed-upon warehouse

terms under the Second Amendment and the Prepetition Lenders refused to agree to Customers’

demands.

                   40.   Mr. Bowlby contends that Customers’ proposed terms were customary and

that the Prepetition Lenders’ failure to approve the Customers’ warehouse facility damaged

AmeriFirst by delaying its ability to re-start operations and meet the projections under an agreed

budget.

                   41.   However, on June 28, 2023, less than one week after Customers sent the

email described above, AmeriFirst obtained a superior warehouse facility from Centier Bank that

(a) did not require any liens on mortgage servicing rights, (b) reduced by $1 million the required

deposit, and (c) increased by $30 million the total facility to be provided. The Prepetition Lenders

approved the Centier Bank facility and allowed AmeriFirst to use otherwise available cash to fund

the deposit.




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                   42.   On June 29, 2023, in accordance with section 2.07(c) of the Amended Credit

Agreement and with Mr. Bowlby’s advance knowledge, the Prepetition Agent swept

approximately $3.3 million from a controlled account of AmeriFirst and applied such amount

against the outstanding loan obligations. The Prepetition Agent did not sweep any cash at the end

of July 2023 because there was insufficient cash on hand to do so.

                   43.   During July and August 2023, the new warehouse facility with Centier Bank

did little to improve AmeriFirst’s financial prospects. The mortgage industry continued to struggle

as high interest rates impeded new loan originations, and AmeriFirst continued to lose money.

                   44.   By early August 2023, AmeriFirst was operating on fumes and did not have

sufficient cash to even make payroll. Mr. Bowlby approached the Prepetition Lenders with a

request to advance new money in order make payroll – not something contemplated under the

Amended Credit Agreement. On August 3, 2023, the Prepetition Lenders proposed to make such

advance for the sole purpose of funding payroll provided that AmeriFirst and Mr. Bowlby agree

to hire a broker to immediately sell the mortgage servicing rights, indemnify the Prepetition

Lenders in connection with any such sale, and terminate all compensation to Mr. Bowlby until

AmeriFirst generated positive net income in a quarter. See Exhibit R (Payroll Funding Offer from

Prepetition Lenders). Mr. Bowlby rejected this offer and apparently obtained the required funds

elsewhere.

                   45.   Later in August 2023, AmeriFirst again could not make payroll and Mr.

Bowlby again approached the Prepetition Lenders.          Those discussions did not lead to any

agreement. Mr. Bowlby claims that he obtained a loan from a friend (Jon Jackson) to make payroll.

Mr. Bowlby apparently mortgaged his residence as collateral for such loan—even though

AmeriFirst owns the residence, not Mr. Bowlby. On August 17, 2023, the Prepetition Agent swept



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approximately $593,000 from a controlled account of AmeriFirst and applied such amount against

the outstanding loan obligations.

                   46.   On August 22, 2023, AmeriFirst, through Kasowitz, took the unorthodox

step of delivering a notice of default to the Prepetition Lenders. See Exhibit S (AmeriFirst Default

Notice). Referencing section 5.01(e) of the Amended Credit Agreement, which sets forth the

requirement that the Prepetition Agent reasonably approve amended budgets, Kasowitz asserted

that the Prepetition Lenders breached the Amended Credit Agreement by refusing to fund expenses

set forth in the approved budget and improperly swept funds. As noted above, the Prepetition

Lenders were entitled to payment of excess funds at the end of each month and had no affirmative

obligation to advance funds to AmeriFirst if there was insufficient cash to make payroll or fund

other expenses. Kasowitz also claimed that the Prepetition Lenders violated section 10.05(b) of

the Amended Credit Agreement by refusing to release funds from a controlled account and violated

the Side Letter by failing to allow AmeriFirst to satisfy net worth covenants in order to meet

regulatory requirements. But Section 10.05(b) provides that the Prepetition Agent is not required

to release funds in excess of the Reserved Cash. The Prepetition Lenders also were not obligated

to fund AmeriFirst to ensure that net worth covenants would be met.

                   47.   The Prepetition Lenders submit that they allowed AmeriFirst to retain over

$600,000 of cash in excess of the Reserved Cash contemplated by the Amended Credit Agreement.

Further, the Prepetition Lenders allowed AmeriFirst to use another $1 million of cash to fund the

required deposit with Centier Bank to support the new warehouse loan facility.

                   48.   On August 24, 2023, following various events of default under the

Amended Credit Agreement, including failures to meet milestones and pay-down the loan, the

Prepetition Agent gave a Notice of Events of Default under the Amended Credit Agreement and



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declared that the obligations of AmeriFirst under the Amended Credit Agreement were

immediately due and payable. See Exhibit T (Prepetition Agent Default Notice). The Prepetition

Agent thereafter exercised its rights under the Pledge Agreement, including transferring the

Pledged Stock and assigning the Prepetition Agent’s rights under the Pledge Agreement to

Phoenix. Pursuant to the Pledge Agreement, the certificates for the Pledged Shares were then

canceled and a new stock certificate issued to Phoenix. As the sole shareholder of AmeriFirst,

Phoenix executed a Unanimous Written Consent as the sole shareholder of AmeriFirst (the

“Phoenix Consent”). The Phoenix Consent (a) removed the former directors of AmeriFirst,

including Eric Bowlby; and (b) elected two new directors (including Jeffrey Dane as independent

director) to AmeriFirst’s board of directors. Jeffrey Dane is delegated exclusive authority with

respect to any conflict matters involving any affiliates of the Debtors. The reconstituted board of

AmeriFirst executed a unanimous consent removing all former officers of AmeriFirst, including

Eric Bowlby, and electing new officers (the “AmeriFirst Consent”, together with the Phoenix

Consent, the “Change in Control”). The AmeriFirst Consent was filed with and accepted by the

Arizona Corporation Commission.

                   49.   Following the Change of Control, also on August 24, 2023, Phoenix and

AmeriFirst commenced these bankruptcy cases.           AmeriFirst needed to file for bankruptcy

immediately because it had no available funding sources, aside from the possibility of debtor-in-

possession financing, and there was concern that the regulatory agencies would take action to

suspend AmeriFirst’s mortgage servicing rights. As of the Petition Date, the aggregate principal

amount outstanding under the Amended Credit Agreement is at least $15,798,087 (plus accrued




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and unpaid interest, additional fees, costs, expenses, and other obligations as provided under the

Amended Credit Agreement).4

E.        The Allegations of Mr. Bowlby and Kasowitz Have Been Investigated
          and Lack Merit

                   50.      As addressed above, Mr. Bowlby and Kasowitz have made various

allegations regarding potential claims that exist against the Prepetition Lenders. Mr. Dane has

considered each of these allegations closely and concluded that they lack merit.

                        Allegation #1: the Default Notice to Senior Lender that was delivered by the
                         Prepetition Agent to the Senior Lender on December 2, 2023, effectively killed
                         AmeriFirst’s mortgage origination business.

                         Conclusion: this claim lacks merit because (1) all claims arising prior to May
                         15, 2023, were waived by AmeriFirst and Mr. Bowlby under the Settlement
                         Agreement, (2) the Prepetition Agent was contractually required to deliver the
                         Default Notice to Senior Lender under the Subordination Agreement, and (3)
                         AmeriFirst was already losing money throughout 2022 and had few prospects
                         given the state of the mortgage industry at the time, hence there is no evidence
                         of damage.

                        Allegation #2: following consummation of the Amended Credit Agreement,
                         the Prepetition Agent swept funds that were necessary for the operation of
                         AmeriFirst’s business.

                         Conclusion: this claim lacks merit because the Amended Credit Agreement
                         permitted the Prepetition Agent to sweep cash constituting the proceeds of non-
                         core assets and any other available cash at the end of each month less certain
                         Reserved Cash. The Prepetition Lenders also allowed AmeriFirst to (1) retain
                         over $600,000 of cash in excess of the Reserved Cash contemplated by the
                         Amended Credit Agreement and (2) use another $1 million of cash to fund the
                         required deposit with Centier Bank to support the new warehouse loan facility.
                         AmeriFirst also failed to obtain an infusion of up to $8 million of subordinated
                         debt which had been anticipated in order to re-start its mortgage origination
                         business.

                        Allegation #3: following consummation of the Amended Credit Agreement,
                         the Prepetition Agent unreasonably withheld its consent to a new warehouse
                         facility from Customers that damaged AmeriFirst.



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     This amount does not appear to take into account the $593,000 sweep on August 17, 2023.

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                         Conclusion: this claim lacks merit because the proposal from Customers
                         required the Prepetition Agent to an indefinite standstill with respect to the
                         exercise of remedies and Customers refused to agree to any marshaling away
                         from any liens on mortgage servicing rights. In any case, a warehouse facility
                         from Centier Bank on substantially better terms was obtained within a matter
                         of days and, even with such facility in place, AmeriFirst failed to generate
                         enough loans to generate a profit or sustain the business.

                        Allegation #4: following consummation of the Amended Credit Agreement,
                         the Prepetition Lenders failed to fund expenses set forth in the approved budget.

                         Conclusion: this claim lacks merit because, as noted above, the Prepetition
                         Lenders were entitled to payment of excess funds at the end of each month and
                         had no affirmative obligation to advance funds to AmeriFirst if there was
                         insufficient cash to make payroll or fund other expenses.

                        Allegation #5: following consummation of the Amended Credit Agreement,
                         the Prepetition Lenders violated the Amended Credit Agreement by refusing to
                         release funds from a controlled account and violated the Side Letter by failing
                         to allow AmeriFirst to satisfy net worth covenants in order to meet regulatory
                         requirements.

                         Conclusion: Section 10.05(b) of the Amended Credit Agreement provides that
                         the Prepetition Agent is not required to release funds in excess of the Reserved
                         Cash. The Prepetition Lenders also were not obligated to fund AmeriFirst to
                         ensure that net worth covenants would be met.

                   51.      The foregoing facts and analysis establish that the Prepetition Lenders did

not engage in any material actionable wrongdoing that would form the basis of a colorable estate

claim, or a claim that would come close to offsetting the outstanding principal obligations asserted

by the Prepetition Lenders against AmeriFirst. The Prepetition Lenders exercised their legal rights,

both before and after the Settlement Agreement was signed on May 15, 2023. The evidence

establishes that AmeriFirst’s business was in the midst of a death spiral since January 2022 due to

the effects of high interest rates and reduced demand for new mortgage loans. Yet, throughout

2022 and into 2023, Mr. Bowlby and AmeriFirst’s management failed to take appropriate steps to

reduce expenses or to pivot to an alternative operating strategy. In the end, AmeriFirst could not

meet its commitments and milestones under the Amended Credit Agreement. Clear defaults


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existed and the level of distrust between Mr. Bowlby and the Prepetition Lenders had reached an

all-time high by August 2023, when competing notices of default were exchanged. The Prepetition

Lenders therefore took steps consistent with the Pledge Agreement to exercise control over the

Pledged Shares.

                   52.   Based on the foregoing investigation conducted by Mr. Dane, it is entirely

appropriate under the unique circumstances of these cases to approve an estate release in favor of

the Prepetition Lenders, without any further challenge.

                                            ARGUMENT

A.      The DIP Loans and Access to Cash Collateral Should Be Approved Under the
        Business Judgment Standard

                   53.   A debtor’s decision to enter into a postpetition lending facility under section

364 of the Bankruptcy Code is governed by the business judgment standard. See, e.g., Trans World

Airlines, Inc. v. Travelers Int’l AG (In re Trans World Airlines, Inc.), 163 B.R. 964, 974 (Bankr.

D. Del. 1994) (approving postpetition credit facility because such facility “reflect[ed] sound and

prudent business judgment”); In re Ames Dep’t Stores, Inc., 115 B.R. 34, 38 (Bankr. S.D.N.Y.

1990) (financing decisions under section 364 of the Bankruptcy Code must reflect a debtor’s

business judgment).

                   54.   The Committee, like Mr. Bowlby before it, asserts that the DIP Lenders are

insiders and therefore the DIP Loans should be subject to a higher level of scrutiny. However, this

Court has already rejected the notion that the “entire fairness” standard applies here. At the Interim

Hearing, the Court ruled instead that the proper standard is whether the Debtors have properly

exercised their business judgment, and based on the uncontroverted evidence, found that this

standard was met. See Transcript of Hearing dated August 30, 2023, p. 76, ln. 16-21.




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                   55.   The proper standard in the Third Circuit has been described by Judge Gross

as follows:

        Debtors correctly posit that courts will almost always defer to the business
        judgment of a debtor in the selection of the lender. The business judgment rule is a
        standard of judicial review designed to protect the wide latitude conferred on a
        board of directors in handling the affairs of the corporate enterprise. The rule refers
        to the judicial policy of deferring to the business judgment of corporate directors in
        the exercise of their broad discretion in making corporate decisions. Under the rule,
        courts will not second-guess a business decision, so long as corporate management
        exercised a minimum level of care in arriving at the decision. The business
        judgment rule under Delaware law and the law of numerous other jurisdictions
        establishes a presumption that in making a business decision, the directors of a
        corporation acted on an informed basis, in good faith, and in the honest belief that
        the action taken was in the best interests of the company.

        Under this formulation, the business judgment rule governs unless the opposing
        party can show one of four elements: (1) the directors did not in fact make a
        decision, (2) the directors’ decision was uninformed; (3) the directors were not
        disinterested or independent; or (4) the directors were grossly negligent.

In re L.A. Dodgers, LLC, 457 B.R. 308, 313 (Bankr. D. Del. 2011), see also Official Comm. of

Unsecured Creditors of Midway Games Inc. v. Nat’l Amusements Inc. (In re Midway Games Inc.),

428 B.R. 303, 320 (Bankr. D. Del. 2010) (“a heightened scrutiny of a transaction between a parent

and subsidiary, ‘entire fairness,’ is appropriate only when a controlling stockholder uses its control

to negate the judgment of the subsidiary's independent board and both causes the transaction and

dictates the terms.”); Deutscher Tennis Bund v. ATP Tour, Inc., 610 F.3d 820, 839 (3d Cir. 2010)

(“The business judgment rule presumption can be rebutted by establishing that the board was either

interested in the outcome of the transaction or lacked the independence to consider objectively

whether the transaction was in the best interest of its company and all of its shareholders. To

establish that a board was interested[,] . . . a plaintiff must allege facts as to the interest . . . of the

individual members of that board.”).

                   56.   There is no heightened scrutiny required here with respect to the DIP Loans

because AmeriFirst’s independent board member, Jeffrey Dane, and chief restructuring officer, T.

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Scott Avila, approved the DIP Loans without any input or influence of the Prepetition Lenders or

DIP Lenders. The DIP Loans also were the outcome of good faith, arms’ length negotiation

between the DIP Lenders and their counsel, on the one hand, and AmeriFirst and its counsel, on

the other.

B.      The DIP Liens and Adequate Protection Liens on Previously Unencumbered Assets
        Are Necessary to Obtain the Financing

                   57.   Section 550 of the Bankruptcy Code provides that the debtor-in-possession

may recover property in connection with avoided transfers “for the benefit of the estate.” 11 U.S.C.

§550; Mellon Bank, N.A. v. Dick Corp., 351 F.3d 290, 293 (7th Cir. 2003) (“Lest this way of

resolving the issue be taken to assume that § 550(a) requires that some benefit flow to unsecured

creditors, we add that the statute does not say this. Section 550(a) speaks of benefit to the estate—

which in bankruptcy parlance denotes the set of all potentially interested parties—rather than to

any particular class of creditors.”); see also Calpine Corp. v. Rosetta Res. Inc. (In re Calpine

Corp.), 377 B.R. 808, 813 (Bankr. S.D.N.Y. 2007) (citing Mellon Bank with approval). Section

364 of the Bankruptcy Code, in turn, allows a debtor in possession to encumber “property of the

estate” in order to obtain postpetition financing that meets the requirements set forth therein. See

11 U.S.C. §§ 364(c)(2), (3), and (d)(1). In the case of adequate protection liens, section 361(2) of

the Bankruptcy Code expressly contemplates the imposition of “additional liens” as a form of

adequate protection to the extent of any diminution in value. 11 U.S.C. § 361(2). Thus, on its

face, the Bankruptcy Code empowers a chapter 11 debtor to encumber estate property in the form

of commercial tort claims and the proceeds of avoidance actions in connection with court-approved

postpetition financings.

                   58.   Sections 363(c)(2) and 363(e) of the Bankruptcy Code are clear that secured

claimants with an interest in cash collateral are entitled to adequate protection against such


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projected diminution in value. Moreover, the grant of a replacement lien is an appropriate means

of providing such adequate protection. See 11 U.S.C. §§ 361–363. The Debtors commenced these

cases with a tight budget and a timeline that accounted for the liquidity pressures facing them.

These are not artificial limitations – the DIP Lenders are only willing to fund up to $5 million in

new advances to the Debtors and even that took substantial effort on the Debtors’ part to obtain.

The Prepetition Lenders already had liens on most of the Debtors’ assets, leaving unencumbered

assets such as proceeds of avoidance actions as one of the only categories of assets upon which

the Debtors could grant a replacement lien that is not already encumbered. See In re Swedeland

Development Grp., Inc., 16 F.3d 552, 565-67 (3d Cir. 1994) (holding that the adequate protection

was insufficient where a debtor provided a secured creditor with nothing more than it was entitled

to receive).

                   59.   Here, the encumbrance of proceeds of avoidance actions was negotiated in

good faith and at arm’s length among the Debtors and the DIP Lenders / Prepetition Lenders as a

necessary inducement to provide the DIP Loans and consent to the use of Cash Collateral, as

applicable. The Court should give effect to the negotiated agreement struck by the Debtors in their

business judgment with the lenders and overrule the Committee’s objection.

C.      Waivers of Marshaling, Section 506(c) Surcharge, and Section 552(b) “Equities of the
        Case” Rights are Routinely Granted and Appropriate Here

                   60.   The Committee’s argument against the Debtors’ waiver of the equitable

doctrine of marshaling, Section 506(c), and Section 552(b)’s “equities of the case exception” of

the Bankruptcy Code should be rejected.

                   61.   As a threshold matter, marshaling is a remedy available only to certain

secured creditors and is not available to general unsecured creditors. In re Advanced Mktg. Servs.,

Inc., 360 B.R. 421, 427 (Bankr. D. Del. 2007). Courts in this District have routinely approved a


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debtor’s waiver of marshaling. See e.g., In re Ector Cnty. Energy Ctr. LLC, Case No. 22-10320

(JTD) (Bankr. D. Del. June 3, 2022) [Docket No. 195]; In re Quorum Health Corp., Case No. 20-

10766 (KBO) (Bankr. D. Del. May 6, 2020) [Docket No. 286]; In re KiOR, Inc., Case No. 14-

12514 (CSS) (Bankr. D. Del. Jan. 16, 2015) [Docket No. 275]; In re Verso Corp., Case No. 16-

10163 (KG) (Bankr. D. Del. Mar. 1, 2016) [Docket No. 372]; In re Quiksilver, Inc., Case No. 15-

11880 (BLS) (Bankr. D. Del. Oct. 15, 2015) [Docket No. 382].

                   62.   The Committee’s objections to the Section 506(c) and 552(b) waivers

should also be overruled. Such waivers are routinely granted as a quid pro quo where, as here, the

Prepetition Lenders with blanket liens on substantially all of the Debtors’ assets have: (a)

consented to the use of collateral in order to fund administration of these chapter 11 cases through

an approved budget; (b) agreed to priming liens and obligations under the DIP Loans; and (c)

agreed to subordinate their liens and claims to the Carve-Out. See e.g., In re VJGJ, Inc., Case No.

21-11332 (BLS) (Bankr. D. Del. 2021 Nov. 15, 2021) [Docket No. 174]; In re Quorum Health

Corp., Case No. 20-10766 (KBO) (Bankr. D. Del. May 6, 2020) [Docket No. 286]; In re True

Religion Apparel, Inc., Case No. XX-XXXXXXX (CSS) (Bankr. D. Del. May 29, 2020) [Docket No.

278]; In re HDR Holdings, Inc., Case No. 19-11396 (MFW) (Bankr. D. Del. Aug. 7, 2019) [Docket

No. 164].

                   63.   Debtors alone have the authority to waive their rights under section 506(c)

of the Bankruptcy Code. Hartford Underwriters Ins. Co. v. Union Planters Bank, N.A., 530 U.S.

1 (2000); 11 U.S.C. § 506(c) (“the trustee may recover from property securing an allowed secured

claim the reasonable, necessary costs and expenses of preserving, or disposing of, such property,

to the extent of any benefit to the holder of such claim.”) (emphasis added). The Supreme Court

in Hartford Underwriters expressly held “[t]he question thus becomes whether it is a proper



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inference that the trustee is the only party empowered to invoke the provision [section 506(c)].

We have little difficulty answering yes.” Hartford Underwriters, 530 U.S. at 6; see also In re

Smart World Techs., LLC, 423 F.3d 166, 181-82 (2d Cir. 2005) (“Section 506(c) . . . allows only

the ‘trustee,’ or debtor-in-possession, to take advantage of this exception . . . . We read Hartford

Underwriters to stand for the proposition that § 1109(b) does not entitle parties in interest, such

as . . . creditors, to usurp the debtor-in-possession’s role as legal representative of the estate.”).

Hartford Underwriters supports the Debtors’ view that the proposed waiver of section 506(c)

surcharge rights is an appropriate exercise of the Debtors’ business judgment, especially given the

substantial benefits the Debtors will receive under the DIP Loans.

                   64.   The Committee’s conclusory allegations are wholly insufficient to deny the

lenders certain appropriate and customary protections under the DIP Loans, which comprise

material components of an integrated agreement to obtain DIP financing and the consensual use

of Cash Collateral. Accordingly, the Court should approve the Debtors’ decision to provide such

protections to the DIP Lenders and the Prepetition Lenders in exchange for a critical financing

lifeline to support these chapter 11 cases.

D.      The Committee’s Other Miscellaneous Objections Should Be Rejected

                   65.   The Committee objects that no DIP credit agreement has been provided. As

the Committee has been told repeatedly, there is no DIP credit agreement here and that is a good

thing. The DIP Lenders are lending pursuant to the DIP Term Sheet and financing orders.

                   66.   Apparently ignoring all of the documents produced on this point, the

Committee makes the blatant false assertion that there is no evidence of good faith, arms’ length

negotiations between the Debtors and the DIP Lenders, and that the Prepetition Lenders remain in

control of these estates. The evidence is directly to the contrary. The material decisions in these



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cases are being made by the independent director, Jeffrey Dane, and the chief restructuring officer,

T. Scott Avila. There is also nothing inherently unfair or inappropriate about the economics of the

DIP Loans. To the contrary, the terms are better than market with an interest rate of only SOFR +

2% and fees totaling less than 1% of the commitment.

                   67.   Finally, the Committee takes issue with the remedies notice period.

Paragraph 22(b) of the proposed Final Order is actually more generous to the Debtors’ estates than

the typical remedies provision in a financing order. The DIP Lenders are required to seek Court

approval before exercising any remedies – nothing is automatic. “Upon the occurrence and during

the continuance of any Event of Default and following the delivery of a Carve-Out Trigger Notice,

the DIP Agent and the DIP Lenders shall be required to obtain the authority of this Court to

exercise any rights and remedies of the DIP Agent and the DIP Lenders set forth in the DIP Term

Sheet or in this Final Order.” See proposed Final Order at ¶22(b).

                   WHEREFORE, the Debtors urge the Court to overrule the objections to the DIP

Motion, enter the proposed form of Final Order previously filed with the Court, and grant such

other and further relief as may be appropriate.




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 Dated: October 24, 2023                    PACHULSKI STANG ZIEHL & JONES LLP


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